                                                            Case 6:23-bk-03715-LVV              Doc 61       Filed 04/08/24                  Page 1 of 1

                                                                                     Form 1
                                                                                                                                                                                                Page: 1
                                                                 Individual Estate Property Record and Report
                                                                                  Asset Cases
Case No.:     6:23-bk-03715-LVV                                                                                                    Trustee Name:        (291030) Richard B. Webber II
Case Name:      Absolute Medical, LLC                                                                                              Date Filed (f) or Converted (c): 09/08/2023 (f)
                                                                                                                                   § 341(a) Meeting Date:       10/12/2023
For Period Ending:      03/31/2024                                                                                                 Claims Bar Date:

                                                  1                                         2                             3                            4                      5                        6

                                          Asset Description                              Petition/                Estimated Net Value           Property Formally         Sale/Funds              Asset Fully
                               (Scheduled And Unscheduled (u) Property)                Unscheduled           (Value Determined By Trustee,         Abandoned            Received by the        Administered (FA)/
                                                                                          Values                Less Liens, Exemptions,        OA=§554(a) abandon.          Estate              Gross Value of
  Ref. #                                                                                                            and Other Costs)                                                           Remaining Assets


    0       Assets             Totals       (Excluding unknown values)                               $0.00                            $0.00                                           $0.00                    $0.00


            (No Assets on File)
        Major Activities Affecting Case Closing:
                                     Assets?
                                     1/17/24 - app to employ Nicolette C. Vilmos as spec counsel for Trustee filed (DE 43) - granted 2/13 (DE 54)
                                     2/7 - Order Granting Amended Motion To Consolidate Cases with Absolute Medical System, LLC Case 6:23-bk-03719-LVV. Absolute Medical, LLC
                                     Case 6:23-bk-03715-LVV is designated the Lead Case (DE 53)

        Initial Projected Date Of Final Report (TFR):                     12/31/2024                          Current Projected Date Of Final Report (TFR):                       12/31/2024


             04/08/2024                                                                                         /s/Richard B. Webber II

                 Date                                                                                           Richard B. Webber II
